                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


CHARLES FRANKLIN CONNOR,                           )
                                                   )
                             Plaintiff,            )
                                                   )         1:17CV127
              vs.                                  )
                                                   )
NORFOLK SOUTHERN RAILWAY                           )
COMPANY, et al.,                                   )
                                                   )
                             Defendants.           )


                                           ORDER

       This matter is before the Court on the Joint Motion to Dismiss Crane Co., with the

consent and approval of the Plaintiff Charles Franklin Connor, to dismiss with prejudice the

Plaintiff’s claims against only the Defendant Crane Co.

       Based on the representations to the Court and for good cause shown,

       IT IS THEREFORE ORDERED that the motion is GRANTED, and all of the

Plaintiff’s claims against the Defendant Crane Co. are hereby DISMISSED WITH

PREJUDICE. Each party to bear their own costs.

       This, the 25th day of July, 2017.


                                       /s/ Loretta C. Biggs
                                     United States District Judge




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